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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

JOHN DOE,                                       *       CIVIL NO. 4:17-cv-00079-RGE-SBJ
                                                *
               Plaintiff,                       *
       v.                                       *
                                                *
GRINNELL COLLEGE,                               *                      ORDER
SARAH MOSCHENROSS,                              *
ANGELA VOOS,                                    *
and BAILEY ASBERRY,                             *
                                                *
            Defendants.                         *
___________________________________             *    ___________________________________


       Before the Court is a Motion to Compel Defendants’ Production of Documents (Dkt. 84)

filed by plaintiff on September 7, 2018. Plaintiff requests an order from the Court compelling

defendants to produce documents in response to a request for redacted copies of Justice Marsha

Ternus’ adjudication opinions and recommendation reports from February 1, 2015, through the

present.

       Defendants filed a Response (Dkt. 89) on September 21, 2018, emphasizing that the

requested documents are student records protected by the Federal Educational Rights and Privacy

Act, 20 U.S.C. § 1232g (“FERPA”). Id. ¶ 1.           Defendants express concern that providing

responsive FERPA-protected records without a court order or validly-issued subpoena may subject

them to legal penalties for FERPA violations. Id. ¶ 7. Defendants do not dispute the requested

records are discoverable but explain they are exercising caution by waiting for an order from the

Court that compels the production of the documents. Id. ¶¶ 13-14. In addition, defendants contend

the records should be redacted as to the student names and other identifiers, such as email addresses

and telephone numbers. Id. ¶ 15. Further, defendants note that FERPA mandates an educational

institution provide affected students and former students with reasonable notice of intent to comply
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with the Court order and, therefore, request a period of 21 days be provided from the date of the

order to issue such notice and allow students to respond before production of the records. Id. ¶ 18.

        Plaintiff filed a Reply (Dkt. 93) on September 25, 2018. Plaintiff asserts the request for

21 days is excessive and suggests the notice period be limited to 10 days. Id. ¶ 4.

        A hearing was held on October 2, 2018. The Court considers the matter to be fully

submitted. For the reasons set forth in the parties’ submissions, Plaintiff’s Motion to Compel

Defendants’ Production of Documents (Dkt. 84) shall be, and is hereby, granted. In doing so, the

Court finds defendants’ request for a period of 21 days for the notice is reasonable. Accordingly,

defendants shall produce the requested copies of the adjudication opinions and recommendation

reports with the student names and other identifiers, such as email addresses and telephone

numbers, redacted by October 24, 2018. Further, as discussed with counsel, the documents shall

be produced as confidential materials pursuant to the Protective Order (Dkt. 45) previously entered

in this case.

                IT IS SO ORDERED.

                Dated October 3, 2018.
